          Case 2:16-cr-00046-GMN-NJK Document 2476 Filed 09/19/17 Page 1 of 3



                                UNITED STATES DISTRICT COURT
 1
                                        DISTRICT OF NEVADA
 2

 3   UNITED STATES OF AMERICA,                       )
 4
                                                     )
                          Plaintiff,                 )         Case No.: 2:16-cr-46-GMN-PAL
 5         vs.                                       )
                                                     )                     ORDER
 6   RYAN C. BUNDY,                                  )
                                                     )
 7
                          Defendant.                 )
 8                                                   )

 9

10          Pending before the Court is pro se Defendant Ryan C. Bundy’s (“Defendant’s”)

11   Objection (ECF No. 1688) to Magistrate Judge Peggy A. Leen’s Order (ECF No. 1599)

12   denying his Motion for Disclosure of Informants (ECF No. 1239). The Government filed a
13   Response to the Objection. (ECF No. 1742). Defendant also filed a Declaration in support of
14   his Objection subsequent to the Government’s Response. (ECF No. 1772).

15          When reviewing the order of a magistrate judge, a district judge should only set aside
16   the order if it is clearly erroneous or contrary to law. 28 U.S.C. § 636(b)(1)(A); D. Nev. R.
17   IB 3-1(a). A magistrate judge’s order is “clearly erroneous” if the court has “a definite and

18   firm conviction that a mistake has been committed.” See Burdick v. Comm’r IRS, 979 F.2d
19   1369, 1370 (9th Cir. 1992). When reviewing the order, however, the magistrate judge “is
20   afforded broad discretion, which will be overruled only if abused.” Columbia Pictures, Inc. v.

21   Bunnell, 245 F.R.D. 443, 446 (C.D. Cal. 2007) (citation omitted). The district judge “may not
22   simply substitute its judgment” for that of the magistrate judge. Grimes v. City & Cty. of San
23   Francisco, 951 F.2d 236, 241 (9th Cir. 1991).

24          Defendant’s original motion sought disclosure of “the names and addresses of any and
25   all informants whom the Government has utilized in the instant case.” (Mot. Disclose


                                                Page 1 of 3
          Case 2:16-cr-00046-GMN-NJK Document 2476 Filed 09/19/17 Page 2 of 3




 1   Informants at 3, ECF No. 1239). After thorough consideration of the full briefing of the
 2   motion, Judge Leen denied Defendant’s motion both on timeliness grounds and on the merits,
 3   explaining that Defendant “fail[ed] to make [a] minimal threshold showing for disclosure of
 4   confidential informants’ identity and addresses.” (Order 4:20–21, ECF No. 1599). Defendant
 5   then filed the instant objection, asserting four claims of clear error by Judge Leen. (Obj., ECF
 6   No. 1688). First, he argues that “good cause” excuses his untimeliness. (Id. at 1–3). Second,
 7   Defendant asserts that during the Government’s case against him in Oregon (a completely
 8   different case based on a separate indictment alleging different charges and underlying facts),
 9   the Government said that it was not calling confidential informants but then so did anyway;
10   therefore, the Government “will attempt to do the same thing in the instant case.” (Id. at 2–4).
11   Third, Defendant objects to Judge Leen’s authority “to rule on pre-trial discovery issues which
12   are dispositive in nature.” (Id. at 4). Finally, Defendant objects to Judge Leen’s Order as
13   failing to liberally construe his pro se pleadings. (Id. at 4–6).
14           First, the Court need not examine the timeliness of Defendant’s motion as Judge Leen
15   also considered his motion on the merits. (See Order 4:19). Second, Defendant argues that
16   Judge Leen “failed to consider the Portland case at all.” (Obj. at 2). The Court reviewed
17   Defendant’s original motion, which does not include any information or assertions regarding
18   Defendant’s separate case in Oregon. (See Mot. Disclose Informants). Judge Leen’s Order was
19   not clearly erroneous for failing to address an issue that Defendant did not raise.1
20           Third, the discovery-related motion was properly referred to Judge Leen pursuant to 28
21   U.S.C. § 636(b)(1)(A). This statute provides that “a judge may designate a magistrate judge to
22   1
       The Court further notes that even in Defendant’s objection and declaration, he fails to demonstrate a connection
     between the Oregon case and the instant case in Nevada, such as a confidential informant testifying in Oregon
23
     about something relevant to his Nevada case. As such, even if the Court were to consider the new arguments
     raised by Defendant in his objection, Defendant would not meet his burden of demonstrating a minimum
24
     threshold showing for disclosure because he does not articulate any substantial reason why he should be entitled
     to the confidential information. See United States v. Rowland, 464 F.3d 899, 909 (9th Cir. 2006); United States v.
25
     Henderson, 241 F.3d 638, 645 (9th Cir. 2001)


                                                       Page 2 of 3
          Case 2:16-cr-00046-GMN-NJK Document 2476 Filed 09/19/17 Page 3 of 3




 1   hear and determine any pretrial matter pending before the court.” 28 U.S.C. § 636(b)(1)(A).
 2   The statute also enumerates several exceptions that cannot be finally determined by a
 3   magistrate judge, such as motions to dismiss an indictment or suppress evidence; however,
 4   none of these exceptions includes discovery-related motions, such as Defendant’s original
 5   Motion for Disclosure of Informants. See id. Therefore, Judge Leen appropriately issued a final
 6   order on Defendant’s motion.
 7          Lastly, pro se status does not excuse a criminal defendant from complying with the
 8   procedural or substantive rules of the Court. Faretta v. California, 422 U.S. 806, 834 n.46
 9   (1975). “A defendant who knowingly and intelligently assumes the risks of conducting his own
10   defense is entitled to no greater rights than a litigant represented by counsel.” United States v.
11   Flewitt, 874 F.2d 669, 674–75 (9th Cir. 1989). Thus, Defendant’s pro se status does not
12   absolve him of his duty to comply with legal standards, like his burden to demonstrate a
13   minimum threshold showing for disclosure here. Therefore, Court overrules Defendant’s
14   objection because Judge Leen did not clearly err in her denial of Defendant’s motion for failing
15   to demonstrate “a specific need for informants’ identities and addresses” and that “the broad
16   information requested is relevant and helpful to his defense” as required by case law. (See
17   Order 6:24–28); see also United States v. Henderson, 241 F.3d 638, 645 (9th Cir. 2001).
18          Accordingly,
19          IT IS HEREBY ORDERED that Defendant’s Objection (ECF No. 1688)
20   is OVERRULED.
21                 DATED this _____
                               19   day of September, 2017.
22

23                                                  ___________________________________
                                                    Gloria M. Navarro, Chief Judge
24                                                  United States District Court
25



                                                 Page 3 of 3
